Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 1 of 24




                   EXH I BIT 6
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 2 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 3 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 4 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 5 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 6 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 7 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 8 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 9 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 10 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 11 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 12 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 13 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 14 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 15 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 16 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 17 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 18 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 19 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 20 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 21 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 22 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 23 of 24
Case 1:01-cv-12257-PBS Document 6208-7 Filed 06/29/09 Page 24 of 24
